      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 1 of 34. PageID #: 1




                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

Donnellon McCarthy Enterprises         )   CASE NO. 1:25-cv-1430
dba Ohio Business Machines             )
10855 Medallion Drive                  )
Cincinnati, OH 45241                   )   JUDGE
                                       )
             Plaintiff,                )
                                       )
v.                                     )
                                       )
DEX Imaging, LLC                       )
4577 Hinckley Industrial Parkway       )
Cleveland, Ohio 44109                  )
and                                    )
c/o Corporation Service Company        )
3366 Riverside Drive, Suite 103        )
Upper Arlington, OH 43221              )
                                       )
and                                    )
                                       )
Anthony Haddad                         )
4651 Main Hill Drive                   )
Seven Hills, OH 44131                  )
                                       )
and                                    )
                                       )
Dax Bushmeyer                          )
4417 Turtle Creek Drive                )
Perrysburg, OH 43551                   )
                                       )
and                                    )
                                       )
Mathew Utter                           )
3651 Schneider Road                    )
Toledo, OH 43614                       )
                                       )
              Defendants.              )


                            CIVIL COMPLAINT
                   WITH JURY DEMAND ENDORSED HEREON
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 2 of 34. PageID #: 2




      Plaintiff Donnellon McCarthy Enterprises, Inc. dba Ohio Business Machines (hereafter,

“DME” or Plaintiff), by and through its undersigned counsel, hereby states as follows:

                                PRELIMINARY STATEMENT

       1.      This civil matter arises out of the unlawful misconduct of former Ohio Business

Machines sales employees Defendants Anthony Haddad, Dax Bushmeyer, and Matt Utter, and the

facilitation of that misconduct by their current employer Defendant DEX Imaging, LLC (“DEX”).

Defendants’ unlawful misconduct includes but is not limited to the intentional, willful, and

malicious retention, misuse, disclosure, and misappropriation of Plaintiff DME’s confidential

business information and trade secrets in violation of federal and Ohio law and in breach of lawful

and enforceable Non-Competition, Non-Solicitation and Confidentiality Agreements. Moreover,

Defendants’ conduct to further their unlawful competition includes the solicitation of numerous

customers of Plaintiff, in willful violation of those same Agreements, through deceptive trade

practices and intentionally misleading and disparaging statements in violation of federal and Ohio

law. All three individual Defendants have knowingly violated and continue to violate federal and

Ohio law, and the clear terms of these respective Agreements, for their own individual benefit, and

at the direction and for the benefit of their current employer Defendant DEX, a direct competitor

of Plaintiff in the office equipment and services industry. Plaintiff has suffered and continues to

suffer financial and reputational harm, including a loss of goodwill, business relations, customers,

revenue, and profit, and other economic damage, loss, and expense as a direct and proximate result

of Defendants’ unlawful conduct described herein.




                                                 2
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 3 of 34. PageID #: 3




                                            PARTIES

       2.        Plaintiff Donnellon McCarthy Enterprises, Inc. is a corporation formed under the

laws of the State of Ohio and transacting business in the state of Ohio.

       3.        Non-Party Ohio Business Machines, LLC (hereafter, “OBM”) is a Limited

Liability Company formed under the laws of the State of Ohio. OBM formerly transacted business

in the state of Ohio.

       4.        In December 2024, Plaintiff DME acquired all the assets of OBM, and now operates

and transacts business in northern Ohio, southern Michigan, and western Pennsylvania as “Ohio

Business Machines, a DME Company.”

         5.      Defendant DEX Imaging, LLC is a Limited Liability Company formed under the

laws of the State of Delaware and transacting business in the state of Ohio with a primary office

located at 4577 Hinckley Industrial Parkway, Cleveland, Ohio 44109.

       6.        Defendant Anthony Haddad is an individual who resides in Cuyahoga, Ohio.

       7.        Defendant Dax Bushmeyer is an individual who resides in Wood County, Ohio.

       8.        Defendant Mathew Utter is an individual who resides in Lucas County, Ohio.

                                 JURISDICTION AND VENUE

       9.        This Complaint contains claims for violations of federal law under the Defend

Trade Secret Act (“DTSA”), 18 U.S.C. §§ 1832 and 1836, and the Lanham Act, 15 U.S.C. § 1125.

These claims therefore arise under the laws of the United States and require the determination of

a federal question. Accordingly, this Court has original jurisdiction over this matter pursuant to 28

U.S.C. § 1331.

       10.       Additionally, this Complaint seeks declaratory judgment, injunctive relief, and

monetary damage for violations of Ohio’s Uniform Trade Secrets Acts (“OUTSA”), R.C. §



                                                 3
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 4 of 34. PageID #: 4




1333.61, et seq., breach of contract (non-disclosure and use, non-competition, non-solicitation, and

disparagement), tortious interference with business relations, and unjust enrichment. Plaintiff’s

state law claims are so related to its federal claims that they form part of the same case and

controversy. Accordingly, this Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367.

       11.     Venue is also proper, as all Defendants maintain residency and/or transact business

within the State of Ohio, and Ohio law controls the contractual and common law claims contained

herein. Further, a substantial part of the events, actions, or omissions giving rise to the claims set

forth herein occurred in the Northern District of Ohio, including without limitation, Cuyahoga and

Lucas Counties in Ohio. All the parties and multiple witnesses to this litigation are accordingly

located within the State of Ohio.

                                              FACTS

       12.     Plaintiff DME, non-party OBM, and Defendant DEX, are direct competitors in the

office equipment and services industry. All three of these companies sold or sell digital office

equipment, including copiers, scanners, printers, fax machines, and mail machines, as well as

business services like document automation, and technology solutions such as managed IT and

cybersecurity solutions, and all three provide these products and services in northern Ohio,

southern Michigan, and western Pennsylvania.

       13.     In December 2024, Plaintiff DME acquired all rights, interest, and title to the assets,

tangible and intangible, of OBM. Those assets include but are not limited to supplies, inventory,

marketing and customer lists, names, information, and correspondence.

       14.     Those assets also include OBM’s contractual agreements with customers, suppliers,

vendors, and employees, including the Non-Competition, Non-Solicitation and Confidentiality



                                                  4
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 5 of 34. PageID #: 5




Agreements between OBM and Defendants Haddad, Bushmeyer, and Utter (hereafter respectively,

the “Haddad Agreement,” “Bushmeyer Agreement,” and “Utter Agreement,” or collectively the

“Agreements”).

       15.     By operation of Ohio law, Plaintiff DME accordingly owns and possesses all

OBM’s prior legal and contractual rights, privileges, and benefits pursuant to those assets and

Agreements, including the right to enforce the terms, conditions, obligations, and restrictions set

forth in the Agreements.

       16.     In furtherance of its business, OBM invested significant time, effort, and expense

to develop significant and economically valuable proprietary and confidential business

information and trade secrets regarding its specific industry and business, including but not limited

to: business proposals, bids, contacts, leases, and service agreements; customer names, contact

information, and lists; vendor names, contact information, and lists; manufacturer and supplier

names, contact information, and lists; training materials; logistical data or materials; prospective

customer, manufacturer, supplier, and vendor materials and service agreements; models and details

of raw costs, pricing, and margins; customer-specific information, including contractual terms and

conditions, contractual expiration dates, equipment specifications, configurations, accessories, and

hardware details, sales terms, lease terms, service terms, and the like; industry-specific sales

knowledge and knowhow; financial growth plans; financial data; price negotiation knowledge; and

business methodology and modeling unique to the office equipment and services industry

(hereafter collectively, “Confidential Information”).

       17.     Plaintiff DME similarly invested significant time, effort, and expense to purchase,

acquire, and continue developing the significant and economically valuable Confidential

Information previously developed by OBM.



                                                 5
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 6 of 34. PageID #: 6




       18.     The Confidential Information derives independent economic value from not being

generally known or readily ascertainable through proper means by others outside of OBM and

DME who could obtain economic value from its disclosure or use.

       19.     OMB took reasonable measures to maintain the secrecy of the Confidential

Information, and DME has continued to take such reasonable measures. Those measures include

but are not limited to: requiring all sales personnel, specifically including Defendants Haddad,

Bushmeyer, and Utter, to sign and adhere to Non-Competition, Non-Solicitation and

Confidentiality Agreements expressly preserving the confidentiality of and governing employees’

obligations and restrictions regarding the retention, use, and disclosure of the Confidential

Information during and after their employment with OBM; reasonably limiting physical access to

Confidential Information; reasonably limiting electronic access to Confidential Information,

including password protection and segregating access to information among various roles and

territories; reasonably limiting employees’ ability to download and print Confidential Information;

and similar measures.

                        Defendants Haddad, Bushmeyer, and Utter
                     Confidentiality, Non-Competition, Non-Solicitation,
                            and Non-Disparagement Obligations

       20.     OBM previously employed Defendant Anthony Haddad as a Sales

Representative and Sales Account Manager in and around Cleveland, Ohio. In those positions,

Defendant Haddad’s duties included managing and meeting with major accounts and identifying

potential clients, setting up meetings, and conducting product demonstrations to improve business

contacts, vendor contacts, and overall relationships to prospective businesses, and negotiating sales

and lease agreements for OBM’s equipment and services, all for the benefit of OBM.




                                                 6
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 7 of 34. PageID #: 7




       21.    On or about May 13, 2019, Defendant Haddad entered into a Non-Competition,

Non-Solicitation and Confidentiality Agreement (“Haddad Agreement”) with OBM. A copy of the

Haddad Agreement is attached hereto as Exhibit 1.

       22.    OBM previously employed Defendant Dax Bushmeyer as its Director of Sales –

Northwest District, in or around Toledo, Ohio. In that position, Defendant Bushmeyer’s duties

included leading the development and implementation of sales strategies, as well as supervising

other OBM sales representatives, warehouse, and administration employees, to increase sales

output, maximize profit, and expand market share for OBM’s portfolio of copiers, IT hardware,

IT services, VOIP, Cloud-based services, and data storage, and negotiating sales and lease

agreements for OBM’s equipment and services, all for the benefit of OBM.

       23.    On or about October 1, 2019, Defendant Bushmeyer entered into a Non-

Competition, Non-Solicitation and Confidentiality Agreement (“Bushmeyer Agreement”) with

OBM. A copy of the Bushmeyer Agreement is attached hereto as Exhibit 2.

       24.    OBM previously employed Defendant Mathew Utter as a Sales Representative

and Sales Account Manager in or around Toledo, Ohio. In those positions, Defendant Utter’s duties

included managing and meeting with major accounts and identifying potential clients, setting up

meetings, and conducting product demonstrations to improve business contacts, vendor contacts,

and overall relationships with customers and prospective businesses, and negotiating sales and

lease agreements for OBM’s equipment and services, all for the benefit of OBM.

       25.    On or about December 1, 2019, Defendant Utter entered into a Non-Competition,

Non-Solicitation and Confidentiality Agreement (“Utter Agreement”) with OBM. A copy of the

Utter Agreement is attached hereto as Exhibit 3.




                                               7
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 8 of 34. PageID #: 8




       26.     Pursuant to the clear and unambiguous terms of the Agreements, Defendants

Haddad, Bushmeyer, and Utter specifically agreed without time limitation not to use or disclose

OBM’s Confidential Information and/or trade secrets except as permitted in the performance of

their OBM job duties. Specifically, Defendants Haddad, Bushmeyer, and Utter agreed not to

directly or indirectly, on their own behalf or on behalf of any person, firm, corporation or other

business entity:

                   Use or disclose to any person the Proprietary Information, or disclose the
                   existence of the ...
                   See the Agreements, Exhibits 1-3, at ¶¶ 1 & 3.B (emphasis added).

       27.     Pursuant to the clear and unambiguous terms of the Agreements, Defendants

Haddad, Bushmeyer, and Utter also specifically agreed not to compete directly or indirectly with

OBM’s business for a certain period of time and within certain specified geographic areas.

Specifically, Defendants Haddad, Bushmeyer, and Utter agreed not to directly or indirectly do

any of the following:

                   Call upon, solicit, sell to or engage in any other activity for the purpose of
                   selling or supplying copiers and related copier equipment, data and print
                   management equipment and services, IT equipment and related management
                   services, VOIP, telecommunications and mailing equipment and services,
                   including, but not limited to activities in any of the foregoing or any other lines
                   of business or services directly or indirectly competitive with, or adverse to,
                   the business and services of [OBM].
                                                            ***
                   Engage in any business or enterprise (whether as an owner, partner, officer,
                   director, employee, consultant, investor, lender, or otherwise), that directly
                   or indirectly competes with any current or future business of [OBM].
                   See the Agreements, Exhibits 1-3, at ¶¶ 3.A.i. & 3.A.iii. (emphasis added).

       28.     These non-competition restrictions were reasonably and narrowly tailored in

geographic scope to be no greater than necessary to protect OBM’s legitimate business interests,

and not impose undue hardship on Defendants. Specifically, those non-competition restrictions

were limited to certain specifically identified Counties in northern Ohio, southern Michigan, and

                                                 8
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 9 of 34. PageID #: 9




western Pennsylvania where OBM previously and now Plaintiff DME operate and sell. See, the

Agreements, Exhibits 1-3, at ¶¶ 3.A.i. & 3.A.iii. and EXHIBIT A thereto. The Agreements do not

restrict Defendants Haddad, Bushmeyer, and Utter from engaging in competitive activities or

selling any products or services outside that limited and agreed geographic area.

       29.       Pursuant to the clear and unambiguous terms of the Agreements, Defendants

Haddad, Bushmeyer, and Utter also specifically agreed, during their employment with OBM and

for a period of twelve (12) months afterward, not to solicit OBM customers. Specifically,

Defendants Haddad, Bushmeyer, and Utter agreed not to directly or indirectly do any of the

following:

                    Solicit, assist in the solicitation of, or otherwise encourage or induce any
                    customer, … of [OBM] to modify or terminate their relationship with
                    [OBM].
                    See the Agreements, Exhibits 1-3, at ¶ 3.A.ii. (emphasis added).

       30.       These non-competition and non-solicitation restrictions were reasonably and

narrowly tailored in temporal duration to be no greater than necessary to protect OBM’s legitimate

business interests, and not impose undue hardship on Defendants. Specifically, those non-

competition and non-solicitation restrictions were limited to the duration of Defendants’

employment with OBM and a period of twelve (12) months after each individual Defendant’s

employment with OBM ended. See the Agreements, Exhibits 1-3, at ¶ 3.A.

       31.       Pursuant to the clear and unambiguous terms of the Agreements, Defendants

Haddad, Bushmeyer, and Utter specifically also agreed without time limitation not to make

disparaging statements regarding OBM. Specifically, Defendants Haddad, Bushmeyer, and Utter

agreed not to:

                    In any manner, aid or be party to any acts, or make any statements, which
                    disparage or tend to diminish the goodwill or business reputation of
                    [OBM].

                                                9
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 10 of 34. PageID #: 10




                   See the Agreements, Exhibits 1-3, at ¶ 3.B (emphasis added).

          32.   After their respective executions of the Haddad Agreement, the Bushmeyer

Agreement, and the Utter Agreement, Defendants Haddad, Bushmeyer, and Utter continued their

respective employment roles with OBM.

          33.   OBM granted Defendants Haddad, Bushmeyer, and Utter access to certain

Confidential Information for use in connection with the performance of their job duties on OBM’s

behalf.

          34.   On or about February 6, 2025, Defendant Haddad voluntarily resigned his

employment with OBM.

          35.   On or about July 17, 2024, OBM ended Defendant Bushmeyer’s employment with

OBM.

          36.   On or about July 22, 2024, Defendant Utter voluntarily resigned his employment

with OBM.

          37.   Following Defendants Haddad’s, Bushmeyer’s, and Utter’s respective separations

from OBM, Defendants Haddad, Bushmeyer, and Utter sought and accepted sales positions with

Defendant DEX, a direct competitor of OBM and DME in the office equipment and services

industry.

          38.   By virtue of their employment with Defendant DEX, Defendants Haddad,

Bushmeyer, and Utter have engaged and continue to engage in activities directly or indirectly

competitive with, and adverse to, the business and services of OBM and DME in direct violation

of the Agreements.

          39.   By virtue of their employment with Defendant DEX, Defendants Haddad,

Bushmeyer, and Utter have engaged and continue to engage business as employees, consultants,



                                               10
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 11 of 34. PageID #: 11




or otherwise, that directly competes with current and future business of OBM and DME in direct

violation of the Agreements.

       40.    Following their respective resignations from OBM, individual Defendants Haddad,

Bushmeyer, and Utter kept and retained and continue to keep and retain OBM and DME

Confidential Information, both in paper and electronic form.

       41.    Defendants Haddad, Bushmeyer, and Utter have stored and continued to store such

OBM and DME Confidential Information on DEX property, both in paper and electronic form.

       42.    Defendant DEX has permitted and continues to permit Defendants Haddad,

Bushmeyer, and Utter to store OBM Confidential Information on DEX property, both in paper and

electronic form, with the knowledge that the Confidential Information is OBM and DME property,

with the knowledge that the Confidential Information was acquired under circumstances giving

rise to a duty to maintain its secrecy or limit its use, and with the intent of using OBM and DME

Confidential Information for Defendant DEX’s own benefit and to unlawfully compete with OBM

and DME.

       43.    Individual Defendants Haddad, Bushmeyer, and Utter have disclosed and continue

to disclose OBM and DME Confidential Information to others at DEX, including DEX

management personnel.

       44.    Defendants have used OBM and DME Confidential Information to directly

compete with the business and services of OBM and DME and to obtain an unfair competitive

advantage over OBM and DME. Specifically, Defendants have used their knowledge of OBM’s

and DME’s Confidential Information to tailor proposals and bids to OBM and DME customers for

DEX equipment and services to offer terms, conditions, and prices that are more favorable to the

customers than OBM’s and DME’s.



                                               11
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 12 of 34. PageID #: 12




       45.    Defendant DEX has permitted and continues to permit Defendants Haddad,

Bushmeyer, and Utter to use their knowledge of OBM’s and DME’s Confidential Information to

tailor proposals and bids to OBM and DME customers for DEX equipment and services to offer

terms, conditions, and prices that are more favorable than OBM’s and DME’s, with the knowledge

that the Confidential Information is OBM and DME property, with the knowledge that the

Confidential Information was acquired under circumstances giving rise to a duty to maintain its

secrecy or limit its use, and with the intent of using OBM and DME Confidential Information for

Defendant DEX’s own benefit and to unlawfully compete with OBM and DME.

       46.    Individual Defendants Haddad, Bushmeyer, and Utter have shared OBM and DME

Confidential Information and coordinated efforts with other DEX sales personnel, including DEX

management personnel, to indirectly solicit OBM and DME customers whom the Agreements

prohibit Defendants Haddad, Bushmeyer, and Utter from soliciting directly.

       47.    Individual Defendants Haddad, Bushmeyer, and Utter have used other DEX sales

personnel, including DEX management personnel, to indirectly solicit OBM and DME customers

to conceal Defendants Haddad’s, Bushmeyer’s, and Utter’s involvement and the violation of their

Confidential Information, non-competition, and non-solicitation obligations.

       48.    Defendants Haddad, Bushmeyer, and Utter and other DEX sales personnel have

made untrue, materially misleading, and disparaging statements about OBM and DME, their staff,

and their equipment and services in an effort to unfairly and unlawfully compete with OBM and

DME business, to suggest OBM and DME will be unable or unwilling to satisfy the customers’

needs, and to make DEX equipment and services seem more appealing by comparison.

       49.    Without question, individual Defendants Haddad’s, Bushmeyer’s, and Utter’s

retention, disclosure, and use of OBM and DME Confidential Information for their individual



                                               12
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 13 of 34. PageID #: 13




benefit and/or for the benefit of OBM’s and DME’s direct competitor DEX, expressly violates the

confidentiality covenants contained in the Agreements.

       50.     Without question, individual Defendants Haddad’s, Bushmeyer’s, and Utter’s

subsequent and ongoing employment with DEX, a direct competitor of OBM and DME, within

the prohibited twelve-month timeframe and geographic territories expressly violates the non-

competition covenants contained in the Agreements.

       51.     Without question, individual Defendants Haddad’s, Bushmeyer’s, and Utter’s

direct and indirect solicitation of OBM and DME customers within the prohibited twelve-month

timeframe expressly violates the non-solicitation covenants contained in the Agreements.

       52.     Without question, individual Defendants Haddad’s, Bushmeyer’s, and Utter’s

untrue, materially misleading, and disparaging statements about OBM and DME, their staff, and

their equipment expressly violate the non-disparagement covenants contained in the

Agreements.

       53.     Without question, individual Defendants Haddad, Bushmeyer, and Utter have used

and carried out deceptive means and methods to knowingly further unfair competition in violation

of the respective lawful Agreements, including but not limited individually contacting, advertising,

or soliciting DME’s customers and prospective customers in the geographic area through false,

misleading, and/or disparaging statements regarding DME’s business and/or services as well as

DME’s acquisition of OBM or existing customer relationships following DME’s acquisition of

OBM, in order to further their unfair competition and anticompetitive conduct; otherwise

coordinating with other DEX sales personnel to achieve the similar purpose of contacting,

advertising, and/or soliciting DME’s customers and prospective customers in the geographic area

as well as to misrepresent DME’s business and services through false, misleading and/or



                                                13
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 14 of 34. PageID #: 14




disparaging statements about DME or OBM, in attempt to intentionally circumvent their respective

covenants of non-competition, non-solicitation, and non-disparagement; and/or knowingly

misusing and utilizing DME’s trade secrets and Confidential Information, in willful violation of

the respective lawful Agreements, to achieve the similar purpose of unfairly competing for DME’s

customers and prospective customers in the geographic area and bring harm to DME, Defendants’

direct competitor.

       54.     On or about May 7, 2025, DME notified Defendant Haddad in writing of these

violations of his Agreement, reminded him of his legal confidentiality, non-competition, non-

solicitation, and non-disparagement obligations, and instructed him to cease and desist his

unlawful activities. Defendant Haddad has nevertheless continued these unlawful activities.

       55.     On or about August 12, 2024 and February 27, 2025, OBM and DME notified

Defendant Bushmeyer in writing of these violations of his Agreement, reminded him of his legal

confidentiality, non-competition, non-solicitation, and non-disparagement obligations, and

instructed him to cease and desist his unlawful activities. Defendant Bushmeyer has nevertheless

continued these unlawful activities.

       56.     On or about August 12, 2024, September 12, 2024, and February 27, 2025, OBM

and DME notified Defendant Utter in writing of these violations of his Agreement, reminded him

of his legal confidentiality, non-competition, non-solicitation, and non-disparagement obligations,

and instructed him to cease and desist his unlawful activities. Defendant Utter has nevertheless

continued these unlawful activities.

       57.     Defendant DEX hired Defendants Haddad, Bushmeyer, and Utter with actual

knowledge of their prior employment with DEX’s direct competitor OBM.




                                                14
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 15 of 34. PageID #: 15




       58.     Upon information and belief, Defendant DEX hired Defendants Haddad,

Bushmeyer, and Utter with actual knowledge of their confidentiality, non-competition, non-

solicitation, and non-disparagement obligations pursuant to the respective Agreements.

       59.     On or about September 12, 2024, February 27, 2025, and May 7, 2025, DME

notified Defendant DEX in writing of these various Agreements, the individual Defendants’

obligations pursuant to the Agreements, and the individual Defendants’ continuing violations of

the Agreements, reminded DEX of its legal obligations not to retain, use, or disclose any OBM

and DME Confidential Information, and instructed DEX to cease and desist its unlawful activities.

       60.     On or about February 27, 2025 and May 7, 2025, Plaintiff DME provided

Defendant DEX with true and accurate copies of the Haddad Agreement, the Bushmeyer

Agreement, and Utter Agreement.

       61.     Defendant DEX has nevertheless continued these unlawful activities.

       62.     Defendant DEX has nevertheless continued to employ individual Defendants

Haddad, Bushmeyer, and Utter in violation of their legal and contractual obligations to OBM and

DME for DEX’s benefit and to OBM’s and DME’s detriment.

       63.     Defendant DEX continues to knowingly use and/or disclose OBM’s and DME’s

Confidential Information and/or trade secrets in spite of DEX’s knowledge that such Confidential

Information and/or trade secrets were acquired by improper means and under circumstances giving

rise to the obligation to maintain their secrecy and limit their use.

       64.     Defendant DEX has knowingly permitted individual Defendants Haddad,

Bushmeyer, and Utter to engage in all the unlawful misconduct described herein to unfairly and

unlawfully compete with OBM and DME, and to obtain an unfair competitive advantage over

OBM, for DEX’s benefit and to OBM’s and DME’s detriment.



                                                  15
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 16 of 34. PageID #: 16




       65.     By this unlawful conduct, Defendants have wrongfully and unlawfully

misappropriated OBM’s and DME’s Confidential Information and trade secrets for Defendants’

benefit and to OBM’s and DME’s detriment.

       66.     By this unlawful conduct, Defendants have wrongfully and unlawfully engaged in

unlawful deceptive business practices and unfair competition for Defendants’ benefit and to

OBM’s and DME’s detriment.

       67.     By this unlawful conduct, Defendant DEX has tortiously interfered with the

respective contractual relationships between OBM and DME and individual Defendants Haddad,

Bushmeyer, and Utter for DEX’s benefit and to OBM’s and DME’s detriment.

       68.     By this unlawful conduct, Defendants have tortiously interfered with the respective

contractual relationships between OBM and DME and their customers for Defendants’ benefit and

to OBM’s and DME’s detriment.

       69.     By this unlawful conduct, Defendants have been unjustly enriched for Defendants’

benefit and to OBM’s and DME’s detriment.

       70.     As a result of Defendants’ unlawful conduct described herein, Plaintiff DME has

lost customers to Defendants, Plaintiff DME has been forced to adjust its equipment and services

offerings to less favorable and less profitable terms in order to retain other OBM and DME

customers, and Plaintiff DME has suffered other economic damages and loss.

                                           COUNT I
                      Violations of the Federal Defend Trade Secrets Act
                                     Against All Defendants

       71.     Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.




                                                16
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 17 of 34. PageID #: 17




       72.     OBM invested significant time, effort, and expense to develop significant and

economically valuable confidential business information and trade secrets regarding its specific

industry and business as detailed above.

       73.     Plaintiff DME similarly invested significant time, effort, and expense to purchase,

acquire, and continue developing the significant and economically valuable Confidential

Information previously developed by OBM.

       74.     The Confidential Information derives independent economic value from not being

generally known or readily ascertainable through proper means by others outside of OBM and

DME who could obtain economic value from its disclosure or use.

       75.     OMB took reasonable measures to maintain the secrecy of the Confidential

Information, and DME has continued to take such reasonable measures as detailed above.

       76.     The Confidential Information accordingly constitutes Plaintiff DME’s trade secrets

as defined by the federal Defend Trade Secrets Act (“DTSA”), 18 U.S.C. §§ 1832 and 1836.

       77.     Neither OBM nor DME expressly or impliedly granted or otherwise authorized

Defendants permission to retain, use, or disclose the Confidential Information or trade secrets.

       78.     Through their employment with DEX, and through DEX’s employment of

Defendants Haddad, Bushmeyer, and Utter, Defendants have misappropriated, and will inevitably

continue to misappropriate, OBM’s and DME’s Confidential Information and trade secrets in

violation of the DTSA.

       79.     In addition, Defendants Haddad, Bushmeyer, and Utter have converted and/or

further intend to convert OBM’s and DME’s trade secrets related to products and services used in

interstate commerce, to the economic benefit of Defendants, with knowledge that this




                                                17
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 18 of 34. PageID #: 18




misappropriation and misuse of OBM’s and DME’s trade secrets will further injure the financial

well-being of DME.

       80.     Through the use of this OBM’s and DME’s Confidential Information and trade

secrets, Defendants – DME’s direct competitors – have and will continue to obtain economic value

and an unfair business advantage over DME.

       81.     Through the actions described herein, Defendants have violated and will continue

to violate the DTSA.

       82.     Defendants’ conduct as detailed herein demonstrates that Defendants’

misappropriation of DME’s Confidential Information and trade secrets was knowing, intentional,

willful, and malicious.

       83.     Defendants misappropriation of OBM’s and DME’s Confidential Information and

trade secrets has and will continue to cause financial harm to Plaintiff DME.

                                           COUNT II
                          Unfair Competition in Violation of Lanham Act
                                    Against All Defendants

       84.     Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

       85.     The individual Defendants have used, advertised, and/or conveyed false,

misleading, and/or disparaging statements regarding DME, OBM, and their customer relationships

following DME’s acquisition of OBM, to DME’s customers, as set forth in the herein.

       86.     The individual Defendants have misappropriated and wrongfully utilized DME’s

trade secrets and Confidential Information for the purpose of unlawfully circumventing the terms

of their respective Agreements, going as far as coordinating with DEX personnel and others to




                                                18
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 19 of 34. PageID #: 19




specifically and knowingly compete and solicit away existing DME customers and prospective

DME customers within the restricted timeframe and geographic area.

       87.     At all relevant times, DEX has possessed full knowledge of the individual

Defendants respective Agreements and the covenants contained therein, but DEX knowingly

permitted, furthered, or encouraged, and continues to permit, further, or encourage, the individual

Defendants’ use, advertisement, and/or conveyance of false, misleading, and/or disparaging

statements about DME and OBM, for its own competitive business advantage and gain.

       88.     At relevant all times, DEX knowingly permitted, furthered, or encouraged, and

continues to permit, further, or encourage, its own DEX personnel to assist and further the unlawful

conduct of the individual Defendants, for its own competitive business advantage and gain.

       89.     At all relevant times, DEX and the individual Defendants have jointly intended to

mislead, deceive, or otherwise unfairly compete for DME’s existing customers and prospective

customers in the restricted geographic market through deceptive means and methods that includes

but is not limited to false, misleading, and/or disparaging statements, advertisements, and/or

communications to knowingly harm and cause damage to DME, its direct competitor.

       90.     Collectively, Defendants’ unlawful and deceptive conduct, including the false,

misleading, and/or disparaging statements regarding DME’s business and services, DME’s

acquisition of OBM, and/or OBM business or OBM customer relationships following DME’s

acquisition of OBM, constitutes unfair competition and anticompetitive conduct aimed at

intentionally or recklessly bringing harm to DME, Defendants’ direct competitor in the same sales

industry, all of which was and continues to be carried out by Defendants, and all of which has

asserted and continues to assert unlawful influence over DME’s existing customers and DME’s

prospective business in geographic area.



                                                19
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 20 of 34. PageID #: 20




       91.    Defendants have carried out and continue to carry out such unlawful conduct in

order to steer away the existing and prospective from the business of DME and to DEX, and

advance DEX’s position in the market and further its commercial promotion.

       92.    Defendants’ unlawful conduct as set forth herein, individually and collectively

constitutes unlawful, unfair, and anticompetitive actions introduced into interstate commerce to

achieve wrongful commercial promotion and create confusion about the origin or sponsorship of

goods or services of DME, in violation of the Lanham Act.

       93.    Defendants’ unlawful actions do not merely constitute commercial advertising or

general competition but instead demonstrate an intentional and malicious purpose to disparage

DME’s business and services, to unfairly compete against DME’s business, products, and services,

and to solicit away DME’s business and customers through deception and anticompetitive conduct,

in violation of the Lanham Act.

       94.    Accordingly, Defendants’ unlawful conduct violates the Lanham Act, 15 U.S.C. §

1125 and § 1127, et seq.

       95.    Defendants knowingly committed per se violations and continue to knowingly

commit per se violations of the Lanham Act, pursuant to 15 U.S.C. § 1125(a).

       96.    Accordingly, DME is entitled to compensatory damages, treble damages, and other

damages entitled under the Lanham Act, in addition to any and all equitable and injunctive relief

afforded by the Lanham Act.

       97.    Defendants’ violations of the Lanham Act were committed willfully, maliciously,

and/or in conscious disregard of the enforceable Agreements and rights of DME, which entitles

Plaintiff DME to exemplary and punitive damages and an award of attorneys’ fees under the

Lanham Act.



                                               20
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 21 of 34. PageID #: 21




                                           COUNT III
                        Violation of the Ohio Uniform Trade Secrets Act
                                      Against All Defendants

       98.     Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

       99.     OBM invested significant time, effort, and expense to develop significant and

economically valuable confidential business information and trade secrets regarding its specific

industry and business as detailed above.

       100.    Plaintiff DME similarly invested significant time, effort, and expense to purchase,

acquire, and continue developing the significant and economically valuable Confidential

Information previously developed by OBM.

       101.    The Confidential Information derives independent economic value from not being

generally known or readily ascertainable through proper means by others outside of OBM and

DME who could obtain economic value from its disclosure or use.

       102.    OMB took reasonable measures to maintain the secrecy of the Confidential

Information, and DME has continued to take such reasonable measures as detailed herein.

       103.    The Confidential Information accordingly constitutes a trade secret as defined by

Ohio’s Uniform Trade Secrets Acts (“OUTSA”), O.R.C. § 1333.61, et seq.

       104.    While they were employed by OBM, Defendants Haddad, Bushmeyer, and Utter

acquired OBM’s Confidential Information and trade secrets under circumstances and express

contractual provisions giving rise to a duty to maintain its secrecy or limit its use.

       105.    Defendant DEX acquired OBM’s and DME’s Confidential Information and trade

secrets knowing or with reason to know that Defendants had utilized improper means to acquire

OBM’s and DME’s Confidential Information and trade secrets, and that the Confidential



                                                  21
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 22 of 34. PageID #: 22




Information and trade secrets DEX acquired were derived from or through Defendants Haddad,

Bushmeyer, and Utter who had acquired the Confidential Information and trade secrets under

circumstances and express contractual duties to maintain its secrecy or limit its use.

       106.    Neither OBM nor DME expressly or impliedly granted or otherwise authorized

Defendants permission to retain, use, or disclose the Confidential Information or trade secrets,

other than for the business purposes of OBM.

       107.    Through their employment with DEX, and through DEX’s employment of

Defendants Haddad, Bushmeyer, and Utter, Defendants have misappropriated, and will inevitably

continue to misappropriate, OBM’s and DME’s Confidential Information and trade secrets in

violation of O.R.C. § 1333.61, et seq.

       108.    In addition, Defendants Haddad, Bushmeyer, and Utter have converted and/or

further intend to convert OBM’s and DME’s trade secrets related to products and services used in

interstate commerce, to the economic benefit of Defendants, with knowledge that this

misappropriation and misuse of OBM’s trade secrets will further injure the financial well-being of

DME.

       109.    Through the use of this OBM’s and DME’s Confidential Information and trade

secrets, Defendants – DME’s direct competitors – have and will continue to obtain economic value

and an unfair business advantage over DME.

       110.    Through the actions described herein, Defendants have violated and will continue

to violate O.R.C.§ 1333.61, et seq.

       111.    Defendants’ conduct as detailed herein demonstrates that Defendants’

misappropriation of DME’s Confidential Information and trade secrets was knowing, intentional,

willful, and malicious.



                                                22
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 23 of 34. PageID #: 23




       112.    Defendants misappropriation of DME’s Confidential Information and trade secrets

has and will continue to cause financial harm to Plaintiff DME.

                                        COUNT IV
                                    Breach of Contract
               (Non-Disclosure of Confidential Information, Non-Competition,
                         Non-Solicitation, and Non-Disparagement)
                    Against Defendants Haddad, Bushmeyer, and Utter

       113.    Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

       114.    OBM entered into contractual Agreements with Defendants Haddad, Bushmeyer,

and Utter as detailed herein.

       115.    The terms of the Haddad Agreement, the Bushmeyer Agreement, and the Utter

Agreement are express, clear, and unambiguous.

       116.    Despite these agreed-upon terms, with Defendants Haddad, Bushmeyer, and Utter

breached the terms of their respective Agreements by their conduct detailed above, including but

not limited to accepting employment with Defendant DEX a direct competitor of OBM and DME,

retaining OBM and DME Confidential Information, storing such OBM and DME Confidential

Information on DEX property, both in paper and electronic form, disclosing OBM and DME

Confidential Information to others at DEX, including DEX management personnel, using OBM

and DME Confidential Information to directly compete with the business and services of OBM

and DME, directly and indirectly soliciting OBM and DME customers within the timeframe and

geographic areas prohibited by the Agreements, and making untrue, materially misleading, and

disparaging statements about OBM and DME, their staff, and their equipment and services.

       117.    As a direct result of Defendants Haddad’s, Bushmeyer’s, and Utter’s breach of their

respective Agreements, Plaintiff DME has lost customers to Defendants, Plaintiff DME has been



                                                23
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 24 of 34. PageID #: 24




forced to adjust its equipment and services offerings to less favorable and less profitable terms in

order to retain other OBM customers, and Plaintiff DME has suffered harm, and will continue to

suffer harm, resulting in economic damages and loss.

                                            COUNT V
               Tortious Interference with Customer Contracts and Business Relations
                                      Against All Defendants

       118.    Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

       119.    OBM and DME had and have business and contractual relationships with numerous

customers for various office equipment and services.

       120.    Defendants actually knew or should have known of the existence of these business

and contractual customer relationships. Indeed, Defendants Haddad, Bushmeyer, and Utter

secured many of those contractual relationships on OBM’s behalf during their prior employment

with OBM.

       121.    Through the unlawful conduct described herein, including but not limited to

Defendants’ violation of their confidentiality, non-competition, non-solicitation, and non-

disparagement obligations, their misappropriation of OBM’s and DME’s Confidential Information

and trade secrets, and their unfair and unlawful competition with OBM and DME in violation of

their contractual obligations and applicable federal and Ohio law, Defendants have intentionally,

wrongfully, and tortiously interfered with these business and contractual customer relationships

between OBM and DME and their customers.

       122.    There is no lawful justification for Defendants’ tortious interference with these

business and contractual customer relationships.




                                                24
       Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 25 of 34. PageID #: 25




        123.   As a direct and proximate result of Defendants’ conduct, DME has lost customers

to Defendants, Plaintiff DME has been forced to adjust its equipment and services offerings to less

favorable and less profitable terms in order to retain other OBM customers, and Plaintiff DME has

suffered other economic damages and loss.

                                              COUNT VI
                                  Tortious Interference with Contract
                                        Against Defendant DEX

        124.   Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

        125.   Defendants Haddad, Bushmeyer, and Utter respectively entered into the Haddad

Agreement, the Bushmeyer Agreement, and the Utter Agreement prior to their employment with

DEX.

        126.   DEX actually knew or should have known of the existence of the Haddad

Agreement, the Bushmeyer Agreement, and the Utter Agreement prior to DEX employing the

individual Defendants Haddad, Bushmeyer, and Utter to compete with OBM and DME.

        127.   On or about February 27, 2025 and May 7, 2025, Defendant DEX had in its

possession true and accurate copies of the Haddad Agreement, the Bushmeyer Agreement, and

Utter Agreement, and DEX accordingly had actual knowledge of Defendants Haddad’s,

Bushmeyer’s, and Utter’s obligations pursuant to those Agreements.

        128.   Defendant DEX has nevertheless continued its unlawful activities, and continued

to employ Defendants Haddad, Bushmeyer, and Utter in violation of their legal and contractual

obligations to OBM and DME for DEX’s benefit and to OBM’s and DME’s detriment.




                                                25
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 26 of 34. PageID #: 26




       129.    DEX has intentionally induced and procured Defendants Haddad, Bushmeyer, and

Utter to breach their respective Agreements specifically in order for DEX to directly compete with

OBM and DME in Ohio and expand its customer base and industry knowledge or know-how.

       130.    There is no lawful justification for DEX’s tortious interference with the Bushmeyer

Agreement, the Haddad Agreement, and the Utter Agreement.

       131.    As a direct and proximate result of DEX’s conduct, DME has lost customers to

Defendants, Plaintiff DME has been forced to adjust its equipment and services offerings to less

favorable and less profitable terms in order to retain other OBM customers, and Plaintiff DME has

suffered other economic damages and loss.

                                         COUNT VII
                                      Unjust Enrichment
                                     Against All Defendants

       132.    Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

       133.    Defendants Haddad, Bushmeyer, and Utter were employed by OBM and, as a

condition of employment, entered into valid and enforceable Agreements, governed by Ohio law.

       134.    Under the Haddad Agreement, the Bushmeyer Agreement, and the Utter

Agreement, Defendants Haddad, Bushmeyer, and Utter agreed not to disclose OBM’s Confidential

Information, not to compete with OBM within a defined geographic area for a term of twelve (12)

months, not to solicit OBM’s customers, and not to make disparaging statements about OBM.

       135.    After voluntarily resigning their employment with OBM, Defendants Haddad,

Bushmeyer, and Utter willfully violated their respective Agreements by virtue of all the conduct

described herein.




                                                26
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 27 of 34. PageID #: 27




       136.    As a direct and proximate result of these actions, Defendants received and retained

benefits including, but not limited to, access to the Confidential Information of OBM and DME,

access to business opportunities, revenue, client relationships, and trade secrets – benefits that

rightfully belong to DME.

       137.    Defendants were aware of these benefits and unjustly retained them at the expense

of DME, without compensation or justification.

       138.    As a direct and proximate result of Defendants’ conduct, DME has lost customers

to Defendants, Plaintiff DME has been forced to adjust its equipment and services offerings to less

favorable and less profitable terms in order to retain other OBM customers, and Plaintiff DME has

suffered other economic damages and loss.

       139.    Under Ohio law, it would be inequitable and contrary to the principles of justice to

permit Defendants to retain the benefits obtained through their wrongful conduct.

                                            COUNT VIII
                   Violations of the Ohio Deceptive Trade Practices Act (ODTPA)
                                       Against All Defendants

       140.    Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein

       141.    DME is a “person” as defined by O.R.C. § 4165.01(D).

       142.    DEX is a “person” as defined by O.R.C. § 4165.01(D).

       143.    Defendant Haddad is a “person” as defined by O.R.C. § 4165.01(D).

       144.    Defendant Bushmeyer is a “person” as defined by O.R.C. § 4165.01(D).

       145.    Defendant Utter is a “person” as defined by O.R.C. § 4165.01(D).

       146.    All Defendants violated O.R.C. § 4165.02(A)(10) when Defendants, either

individually, collectively, or through other DEX personnel, employees and representatives,



                                                27
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 28 of 34. PageID #: 28




purposefully and knowingly disparaged DME and DME’s services and business to DME’s own

customers as well as prospective customers through misleading, deceptive statements regarding

DME’s business and services in addition DME’s recent acquisition of OBM.

       147.    At all relevant times, Defendants Bushmeyer, Haddad, and Utter misappropriated

and wrongfully utilized OBM’s and DME’s trade secrets and Confidential Information in order to

carry out its unfair and deceptive practices, solely for their own competitive advantage, financial

gain, and profit for themselves and their employer, DEX.

       148.    At all times, DEX has had knowledge of the individual Defendants’ unlawful

conduct and actions set forth herein, and has encouraged, permitted, and/or furthered such

unlawful conduct and actions in order to confuse and deceive the public and/or or otherwise

unfairly compete and cause harm to its direct competitor, DME.

       149.    DME has been irreparably harmed as a result of Defendants’ violative conduct or

actions, and it seeks recovery under O.R.C. § 4165.01, et seq.

       150.    Under Ohio Revised Code Section 4165.02(A)(2), DME is a person who has been

injured as a result of Defendants’ deceptive trade practices and may commence a civil action to

recover damages.

       151.    DME has been damaged and continues to be damaged as a direct and proximate

cause of the foregoing conduct.

       152.    Accordingly, DME is entitled to damages for Defendants’ violations of the

ODTPA, in addition to any and all equitable and injunctive relief under the ODTPA, O.R.C. §

4106.03.




                                                28
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 29 of 34. PageID #: 29




       153.    Defendants violations of the ODTPA were committed willful, maliciously, and/or

in conscious disregard of the enforceable Agreements and rights of DME, which entitles DME to

exemplary and punitive damages and an award of attorneys’ fees under the ODTPA.

                                          COUNT IX
                                     Declaratory Judgment
                                     Against All Defendants

       154.    Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

       155.    A real controversy exists between the parties regarding:

               a. whether Defendant Haddad’s employment with DEX, combined with his

                   knowledge, disclosure, and use of OBM’s and DME’s Confidential Information

                   and trade secrets, and his conduct in competing with and soliciting business of

                   OBM, constitute violations of the Haddad Agreement with OBM;

               b. whether Defendant Bushmeyer’s employment with DEX, combined with his

                   knowledge, disclosure, and use of OBM’s and DME’s Confidential Information

                   and trade secrets, and his conduct in competing with and soliciting business of

                   OBM, constitute violations of the Bushmeyer Agreement with OBM;

               c. whether Defendant Utter’s employment with DEX, combined with his

                   knowledge, disclosure, and use of OBM’s and DME’s Confidential Information

                   and trade secrets, and his conduct in competing with and soliciting business of

                   OBM, constitute violations of the Utter Agreement with OBM;

               d. whether the untrue, materially misleading, and disparaging statements of

                   Defendants Haddad, Bushmeyer, and Utter about OBM and DME, their staff,




                                                29
     Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 30 of 34. PageID #: 30




                  and their equipment and services constitute violations of the Agreements with

                  OBM;

              e. whether Defendants Haddad, Bushmeyer, and Utter have otherwise violated

                  their Agreements with OBM;

              f. whether the covenants and restrictions set forth in the respective Agreements

                  are reasonable, are no greater than necessary for the protection of OBM’s and

                  DME’s legitimate business interests, impose no undue hardship on the

                  individual Defendants, and are not injurious to the public;

              g. whether the Agreements are enforceable as drafted and agreed to by Defendants

                  Haddad, Bushmeyer, and Utter, or with such modifications as the Court may

                  determine are required by law;

              h. whether Defendants violated the DTSA, 18 U.S.C. § 1832 & 1836;

              i. whether Defendants violated the Lanham Act, 42 U.S.C. § 1125(a);

              j. whether Defendants violated the Ohio Uniform Trade Secrets Act, O.R.C. §

                  1333.61, et seq.

              k. whether Defendants violated the Ohio Deceptive Trade Practice Action,

                  pursuant to O.R.C. § 4165.01, et seq.

              l. whether DME is entitled to injunctive relief under federal and/or state law.

       156.   The controversy is justiciable.

       157.   Speedy relief is necessary to preserve the rights of the parties.

       158.   In light of this controversy, Plaintiff DME asks that this Court issue a declaration

of rights and duties of the parties pursuant to the Haddad Agreement, the Bushmeyer Agreement,

and the Utter Agreement.



                                                30
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 31 of 34. PageID #: 31




                                          COUNT X
                                       Injunctive Relief
                                     Against All Defendants

        159.   Plaintiff DME incorporates by reference each and every allegation set forth in the

foregoing paragraphs of its Complaint as if fully restated herein.

        160.   DEX’s continued employment of Defendants Haddad, Bushmeyer, and Utter has

and will continue to result in the misuse of DME’s Confidential Information and/or trade secrets,

in direct violation of the Haddad Agreement, the Bushmeyer Agreement, and the Utter Agreement

and applicable state and federal law, wholly to the detriment of OBM and DME and causing

irreparable financial and reputational harm for which DME has no adequate remedy at law.

        161.   Defendants Haddad, Bushmeyer, and Utter, whether individually, respectively, or

jointly, past and continuing unlawful conduct and/or actions set forth in this Agreement have

violated and will continue to violate the Lanham Act and ODTPA to further anticompetitive and

unfair competition as well as wrongfully promote commercial business of DEX , wholly to the

detriment of OBM and DME and causing irreparable financial and reputational harm for which

DME has no adequate remedy at law.

        162.   Plaintiff DME requests that Defendants Haddad, Bushmeyer, and Utter be ordered

to honor their contractual obligations, immediately cease their employment with DEX, and be

prohibited from resuming or further securing employment with DEX or any other direct competitor

of OBM within any of the geographic locations set forth in Exhibit A to their respective

Agreements until the expiration of twelve (12) months following the date of the Court’s Order to

this effect.

        163.   Plaintiff DME requests that Defendants Haddad, Bushmeyer, and Utter be ordered

not directly or indirectly accept or engage in any other employment or activity that competes with



                                                31
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 32 of 34. PageID #: 32




DME within the geographic areas listed in their respective Agreements until the expiration of

twelve (12) months following the date of the Court’s Order to this effect.

       164.    Plaintiff DME requests that Defendants immediately cease any and all unlawful

activities, including but not limited to contacting, advertising, and/or soliciting existing customers

of DME, whether those existing customers were acquired with the acquisition of OBM or acquired

after the acquisition of OBM; publishing any and all misleading, deceptive, false, or confusing

information regarding the business of DME and OBM, the acquisition of DME and OBM, the

services of DME and OBM, or the sales practices of DME and OBM, to any and all DME

customers as well as all third parties in the geographic areas currently restricted by the terms of

the respective Agreements; and coordinating other non-party DEX personnel to do any of the

foregoing.

       165.    Plaintiff DME requests that Defendants be ordered to immediately return of any

and all OBM Confidential Information and trade secrets currently in Defendants’ possession, either

in paper, electronic, or any other form or format whatsoever.

       166.    Plaintiff DME requests that Defendants be ordered not to disclose or use any

Confidential Information or trade secrets of OBM or DME at any time in the future.

       167.    Plaintiff DME requests that Defendants be ordered not to directly or indirectly

solicit any OBM or DME customer or employee to modify or terminate their relationship with

OBM, or assist anyone else in doing so, within any of the geographic locations set forth in Exhibit

A to their respective Agreements until the expiration of twelve (12) months following the date of

the Court’s Order to this effect.

       168.    For the reasons set forth above, DME is likely to succeed on the merits of its claims

and requests for Declaratory Judgment.



                                                 32
      Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 33 of 34. PageID #: 33




       169.    DME therefore seeks appropriate injunctive relief under federal and state law,

including but not limited to an Order reflecting the terms set forth above.

      WHEREFORE, Plaintiff Donnellon McCarthy Enterprises, Inc. prays that it be granted

judgment against Defendants DEX Imaging, LLC, Anthony Haddad, Dax Bushmeyer, and

Mathew Utter, jointly and severally, as well as all appropriate legal and equitable relief as follows:

            i. An appropriate Order for declaratory relief as specified in Count IX above;

           ii. An appropriate Order for injunctive relief against Defendants as specified in Count

       X above, including disgorgement of all gains, profits, or benefits unjustly retained by

       Defendants.

          iii. Judgment and an award of monetary damages against the Defendants DEX

       Imaging, LLC, Anthony Haddad, Dax Bushmeyer, and Mathew Utter, jointly and

       severally, in an amount to be determined at trial but in excess of $75,000, including but not

       limited to compensatory damages for actual loss, unjust enrichment, reasonable royalties,

       treble damages, exemplary damages, punitive damages, reasonable attorneys’ fees, costs,

       pre-judgment and post-judgment interest, and all other appropriate legal and equitable

       relief to which Plaintiff may be lawfully entitled.

                                               Respectfully submitted,
                                               /s/ Chad E. Willits _______________
                                               Chad E. Willits (0066541)
                                               Michael J. Caligaris (0099722)
                                               REMINGER CO., LPA
                                               525 Vine Street, Suite 1500
                                               Cincinnati, OH 45202
                                               Tel: (513) 721-1311; Fax: (513) 721-2553
                                               Email: cwillits@reminger.com
                                                      mcaligaris@reminger.com
                                               Counsel for Plaintiffs




                                                 33
     Case: 1:25-cv-01430-CEF Doc #: 1 Filed: 07/08/25 34 of 34. PageID #: 34




                               DEMAND FOR JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a
trial by jury on all issues so triable.
                                             /s/ Chad E. Willits__________________
                                             Chad E. Willits, Esq. (0066541)
                                             Michael J. Caligaris (0099722)




                                              34
